      Case: 1:22-cv-03998 Document #: 40 Filed: 01/05/23 Page 1 of 1 PageID #:178




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DENA NATOUR FOR MINOR, HADI                     )
ABUATELAH,                                      )
                                                )
        Plaintiff,                              )
                                                )
        v.                                      )
                                                ) Case No. 22-cv-03998
CHIEF OF OAK LAWN POLICE, DANIEL                )
VITTORIO, OFFICER B. COLLINS,                   ) Judge Steven C. Seeger
OFFICER P. O’DONNELL, OFFICER M.                )
HOLLINGSWORTH, and THE VILLAGE                  )
OF OAK LAWN,                                    )
                                                )
        Defendants.                             )

                                CERTIFICATE OF SERVICE

To:     All Counsel on Record

        I, Kevin Casey, attorney, certify that I served this notice and the following documents by
mailing a copy to the above-named party at his respective address before 5:00 p.m., on January 5,
2023, a copy of which accompanies this Notice and is herewith served upon you.

                •     Defendant’s Initial Rule 26(a)(1) Disclosures.

                                                    Respectfully submitted,

                                             By:      /s/ Kevin M. Casey
                                                      One of the attorneys for the Defendants

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